         Case 19-23194-GLT       Doc 13    Filed 08/27/19 Entered 08/27/19 18:32:56         Desc Main
                                           Document     Page 1 of 4

                                IN THE UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF PENNSYLVANIA

In Re:        Michael B Remaley                               :   Bankruptcy No. 19-23194
                                                              :
                                     Debtor                   :
                                                              :   Chapter 7
  Movant                                                      :
                                                              :   Doc. No.
              v.                                              :
                                                              :
                                                              :
No Respondent                                                 :

                                          AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:

         Voluntary Petition - Specify reason for amendment:

         Official Form 6 Schedules (Itemization of Changes Must Be Specified)
         Summary of Schedules
         Schedule A - Real Property
         Schedule B - Personal Property
         Schedule C - Property Claimed as Exempt
         Schedule D - Creditors holding Secured Claims
               Check one:
                     Creditor(s) added
                     NO Creditor(s) added
                     Creditor(s) deleted
         Schedule E - Creditors Holding Unsecured Priority Claims
               Check one:
                     Creditor(s) added
                     NO Creditor(s) added
                     Creditor(s) deleted
         Schedule F - Creditors Holding Unsecured Nonpriority Claims
               Check one:
                     Creditor(s) added
                     NO Creditor(s) added
                     Creditor(s) deleted
         Schedule G - Executory Contracts and Unexpired Leases
               Check one:
                     Creditor(s) added
                     NO Creditor(s) added
                     Creditor(s) deleted
PAWB Local Form 6 (07/13)
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      Case 19-23194-GLT        Doc 13    Filed 08/27/19 Entered 08/27/19 18:32:56          Desc Main
                                         Document     Page 2 of 4

      Schedule H - Codebtors
      Schedule I - Current Income of Individual Debtor(s)
      Schedule J - Current Expenditures of Individual Debtor(s)
      Statement of Financial Affairs
 x    Chapter 7 Individual Debtor's Statement of Intention
      Chapter 11 List of Equity Security Holders
      Chapter 11 List of Creditors Holding 20 Largest Unsecured Claims
      Disclosure of Compensation of Attorney for Debtor
      Other:

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Fed.R.Bankr.P. 1009(a) and Local Rule 1009-1, I certify that notice of the filing of the
amendment(s) checked above has been given this date to the U.S. Trustee, the trustee in this case, and to
entities affected by the amendment as follows:

Ally Financial
PO Box 130424
Roseville, MN 55113-0004


Date August 27, 2019                        /s/ Joseph J. Nash
                                            Atty. for Debtor

                                            Joseph J. Nash
                                            (Typed Name)

                                            PO Box 673
                                            SLIPPERY ROCK, PA 16057
                                            (Address)

                                            724-406-0616         attorneynash@nashlawoffice.net
                                            (Phone No.)           (Email)

                                            Penn. #204583 PA
                                            List Bar I.D. and State of Admission

Note: An amended matrix of creditors added by the amendment must be submitted on disk with the
amendment. Attorneys filing electronically on the Case Management/Electronic Case Filing System may add
creditors to the case electronically.




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              Case 19-23194-GLT                      Doc 13          Filed 08/27/19 Entered 08/27/19 18:32:56             Desc Main
                                                                     Document     Page 3 of 4

 Fill in this information to identify your case:

 Debtor 1                 Michael B Remaley
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF PENNSYLVANIA

 Case number           19-23194
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
          whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
          on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Ally Financial                                       Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2015 Ford F350 88000                               Reaffirmation Agreement.
    property             miles                                              Retain the property and [explain]:
    securing debt:       Good Condition                                     continue making payments under
                         Kelly Blue Book used for                         the terms of the terms of
                         valuation                                        agreement w/ creditor.


    Creditor's         Franklin American Mortgage                           Surrender the property.                     No
    name:              Company                                              Retain the property and redeem it.
                                                                                                                        Yes
                                                                            Retain the property and enter into a
    Description of       883 Schrader Rd. Mercer,                           Reaffirmation Agreement.
    property             PA 16137 Mercer County                             Retain the property and [explain]:
    securing debt:       Singe Family House                                 continue to pay via terms of
                                                                          agreement


    Creditor's         Northwest Bank                                       Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2010 Canam Commander                               Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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           Case 19-23194-GLT                         Doc 13          Filed 08/27/19 Entered 08/27/19 18:32:56                          Desc Main
                                                                     Document     Page 4 of 4

 Debtor 1      Michael B Remaley                                                                     Case number (if known)    19-23194

     securing debt:                                                        continue to make payments via
                                                                         terms of agreement

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Michael B Remaley                                                        X
       Michael B Remaley                                                                Signature of Debtor 2
       Signature of Debtor 1

       Date        August 27, 2019                                                  Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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